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                          Entered on Docket
                   5March 18, 2022
                ___________________________________________________________________
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                              Receivable Fund, LP
                      16

                      17                          IN THE UNITED STATES BANKRUPTCY COURT
                                                        FOR THE DISTRICT OF NEVADA
                      18
                              In re:                                             Case No.: 21-14486-abl
                      19                                                         Chapter 7
                              INFINITY CAPITAL MANAGEMENT, INC.,
                      20                      Debtor.
                                                                                 Date: February 22, 2022
                      21                                                         Time: 10:00 a.m.
                      22
                                              ORDER GRANTING TECUMSEH’S MOTION TO ALLOW
                      23                       AMENDMENT OF DECLARATION [RE: ECF NO. 59]

                      24               The Motion to Allow Amendment of Declaration [ECF No. 59] (the “Motion”), filed by

                      25      Tecumseh–Infinity Medical Receivable Fund, LP, (“Tecumseh”), came on for hearing before the

                      26      above-captioned Court on February 22, 2022, at 10:00 a.m. All appearances were noted on the

                      27      record at the hearing on the Motion.

                      28
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
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                        1                The Motion1 sought an order allowing Tecumseh to amend Exhibits A and B to the

                        2     Declaration in Support of Motion of Party in Interest Tecumseh-Infinity Medical Receivables

                        3     Fund, LP to (1) Abandon Property and (2) Lift the Automatic Stay of Chad Meyer [ECF No. 59]

                        4     (the “Declaration”) because the Exhibits were incomplete. Due, proper, timely, and sufficient

                        5     notice of the Motion was provided and the Motion was unopposed.

                        6                The Court, having reviewed the Motion, the exhibits thereto, the Declarations of Chad

                        7     Meyer and Michael D. Napoli filed in support of the Motion, and the pleadings, papers, and other

                        8     records on file with the clerk of the above-captioned Court, finds good cause for the relief

                        9     requested. All other findings of fact and conclusions of law orally stated by the Court at the hearing

                      10      are incorporated herein pursuant to Fed. R. Civ. P. 52, as made applicable by Fed. R. Bankr. P.

                      11      9014(c) and 7052. For the reasons stated by the Court on the record at the hearing,

                      12                 IT IS HEREBY ORDERED that:

                      13                 1.       The Motion is GRANTED.

                      14                 2.       Tecumseh is authorized to file an amended Declaration attaching complete copies

                      15      of Exhibits A and B.

                      16                 IT IS SO ORDERED.

                      17      Prepared and submitted:

                      18      GARMAN TURNER GORDON LLP

                      19      By: /s/ Gabrielle A. Hamm
                                  GERALD M. GORDON, ESQ.
                      20
                                  WILLIAM M. NOALL, ESQ.
                      21          GABRIELLE A. HAMM, ESQ.
                                  7251 Amigo St., Suite 210
                      22          Las Vegas, Nevada 89119
                      23

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                                  All capitalized terms used herein shall have the meaning set forth in the Motion unless otherwise stated.
  Garman Turner Gordon
     Attorneys at Law
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   Las Vegas, NV 89119                                                                    2
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                               Case 21-14486-abl               Doc 197     Entered 03/18/22 08:37:39         Page 3 of 3


                        1
                                                                        LR 9021 CERTIFICATION
                        2
                                          In accordance with LR 9021, counsel submitting this document certifies that the order
                        3
                              accurately reflects the court’s ruling and that (check one):
                        4
                                                     The court waived the requirement of approval under LR 9021(b)(1).
                        5
                                                     No party appeared at the hearing or filed an objection to the motion.
                        6
                                                     I have delivered a copy of this proposed order to all counsel who appeared at the
                        7                            hearing, and any unrepresented parties who appeared at the hearing, and each has
                                                     approved or disapproved the order, or failed to respond, as indicated below:
                        8
                                                        Bart K. Larsen, Esq.                                       Approved
                        9
                                                        Counsel for HASelect-Medical Receivables
                      10                                Litigation Finance Fund International SP

                      11                             I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
                                                     order with the motion pursuant to LR 9014(g), and that no party has objection to
                      12                             the form or content of the order.
                      13

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                      16      4882-4515-1500, v. 1


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